
Upon consideration of the petition filed on the 22nd day of July 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of December 2008."
Defendant shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
Accordingly, only those issues which are the basis of the dissenting opinion in the Court of Appeals shall be presented to this Court in briefs. The Defendant's new brief so limited in scope shall be filed with this Court not more that 30 days from the date of certification of this order.
